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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


SECURITIES AND EXCHANGE
COMMISSION,

                  Plaintiff,
                                                 Civil Action File No.
                         v.                      1:24-cv-03774-MHC

TANNER S. ADAM, JONATHAN L.                      JURY DEMAND
ADAM, TRITEN FINANCIAL GROUP,
LLC, and GCZ GLOBAL LLC,

                  Defendants.

             PLAINTIFF’S NOTICE OF MANUAL FILING OF
             AUDIO/VIDEO EXHIBITS TO DECLARATIONS

      Plaintiff Securities and Exchange Commission (“Commission”) hereby

submits the enclosed thumb drive which contains the following audio and video

clips referenced in declarations previously filed in support of the Commission’s

Emergency Motion for Asset Freeze and Other Equitable Relief:

      1. Exhibits 3 & 7 to the 7/24/2024 Declaration of Dan Byler [Dkt. No. 2-5];

      2. Exhibits C, E, G, I & L to the 8/13/2024 Declaration of Scott Shickler [Dkt.

         No. 2-6]; and

      3. Exhibit 1 to the 7/25/2024 Declaration of David Mireles [Dkt. No. 2-7].




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          Respectfully submitted this 26th day of August, 2024.


                             /s/ Kristin W. Murnahan
                             Kristin W. Murnahan
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                             COUNSEL FOR PLAINTIFF
                             Securities and Exchange Commission
                             Atlanta Regional Office
                             950 East Paces Ferry Road, N.E., Suite 900
                             Atlanta, GA 30326-1382
                             Tel (main): (404) 842-7600
                             Fax: (404) 842-7679




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                         CERTIFICATE OF SERVICE
            Undersigned counsel certifies that on August 26, 2024, she

electronically filed Plaintiff’s Notice of Manual Filing of Audio/Video Exhibits to

Declarations with the Clerk of Court using the CM/ECF system. A copy of same

with thumb drive was placed in UPS overnight mail to:


      United States District Court
      Northern District of Georgia
      Attn: Clerk of the Court
      Richard B. Russell Federal Building
      2211 United States Courthouse
      75 Ted Turner Drive, SW
      Atlanta, GA 30303-3309



                                       /s/ Kristin W. Murnahan
                                       Kristin W. Murnahan
                                       Counsel for Plaintiff




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